Case 2:20-cv-17100-SRC-CLW Document 65 Filed 03/24/23 Page 1 of 1 PageID: 989




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



     MCO & EA LLC,                                  Case No. 2:20-cv-17100-SRC-CLW

                             Plaintiff;

             v.                                     Certificate of Service


     SILVER GLOBE INC.,

                             Defendant.



          I am an attorney admitted to practice before this Court and not a party to this action.

   I certify that on March 24, 2023, Defendant Silver Globe Inc. was served with Plaintiff MCO

   & EA LLC’s Notice of Motion for Attorney’s Fees and Costs, the supporting Memorandum,

   the Declaration of Brett E. Lewis, the exhibits attached thereto, and the proposed order

   (ECF 64) via ECF-NEF to:

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     Dated: March 24, 2023                                   /s/ David D. Lin
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